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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 GERARD CAMPBELL, individually on behalf of
 himself and all others similarly situated,    Case No. 1:16-cv-07176-ILG-PK

              Plaintiffs,                      DEFENDANT DRINK DAILY GREENS,
                                               LLC’S [PROPOSED] ORDER
                                               GRANTING MOTION TO SANCTION
       v.                                      PLAINTIFF AND HIS LAWYERS
                                               PURSUANT TO FRCP RULE 11
 DRINK Daily Greens, LLC, a Delaware limited
 liability company,

              Defendant.
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        The Court having reviewed all materials submitted in support of and in opposition to

 Defendant Drink Daily Greens, LLC’s Motion to Sanction Plaintiff and his lawyers pursuant to

 Federal Rule of Civil Procedure 11 and all other pleadings and arguments by counsel properly

 before the Court, and after careful consideration, hereby GRANTS Defendant’s Motion as

 follows:

        1.     Plaintiff and his lawyers shall pay all of Daily Greens’ attorney’s fees and costs in

 the amount of $___________.

 IT IS SO ORDERED.


 Dated: _____________, 2018
                                                     Honorable I. Leo Glasser
                                                     United States District Judge




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